                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

 DAVID DUVALL,                                 )
                                               )
 Plaintiff,                                    )
                                               )
 v.                                            )
                                                          C.A. No. 3:19-cv-00624-DSC
                                               )
 NOVANT HEALTH, INC.,                          )
                                               )
 Defendant.                                    )
                                               )


       PLAINTIFF’S MOTION TO ALTER OR AMEND THE JUDGMENT

       Plaintiff, though counsel and pursuant to Rule 59 (e) of Federal Rules of Civil

Procedure, moves the Court to alter or amend the Judgment entered in this matter on

August 12, 2022 [ECF 165]. The Judgment incorporated by reference this Court’s Order

of August 11, 2022 [ECF 164]that resolved the numerous post-trial motions and

awarded Plaintiff back and front pay. Plaintiff asks the Court to correct three errors

related to the Court’s back and front pay calculations.

       1.     To recalculate the backpay award through the August 12, 2022 date of the

Judgment as required by the case law correctly cited in the Court’s Order.

       2.     To recalculate the pre-judgment interest through the date of the Judgment

and to specify the amount of the pre-judgment interest awarded for the parties to see.

       3.     To address Plaintiff’s request for a tax adjustment to neutralize the

negative tax impact of receiving the backpay and front pay in a single lump sum as

opposed to receiving it over time.




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      Plaintiff files a memorandum of law and exhibits in support of this motion. His

counsel has conferred with Defendant’s counsel regarding Plaintiff’s intent to file this

motion. Counsel for Defendant has indicated that Defendant does not consent to the

motion.

      Wherefore, Plaintiff moves the Court to alter or amend the Judgment in the

manner described and for the reasons explained in the attached memorandum.

      Respectfully submitted, this 23rd day of August, 2022.


                                        /s/ S. Luke Largess
                                        NC Bar No. 17486
                                        Attorney for Plaintiff
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                            CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically filed the foregoing MOTION
with the Clerk of Court using the CM/ECF system, which will send notification of the filing
to all counsel of record:

       Dated this the 23rd day of August, 2022.



                                  /s/S. Luke Largess
                                  S. Luke Largess
                                  N.C. Bar No. 17486
                                  Attorney for Plaintiff




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